Case 2:04-cv-09049-DOC-RNB Document 3833-2 Filed 05/28/08 Page 1 of 8 Page ID
                                 #:79886
Case 2:04-cv-09049-DOC-RNB Document 3833-2 Filed 05/28/08 Page 2 of 8 Page ID
                                 #:79887
Case 2:04-cv-09049-DOC-RNB Document 3833-2 Filed 05/28/08 Page 3 of 8 Page ID
                                 #:79888
Case 2:04-cv-09049-DOC-RNB Document 3833-2 Filed 05/28/08 Page 4 of 8 Page ID
                                 #:79889
Case 2:04-cv-09049-DOC-RNB Document 3833-2 Filed 05/28/08 Page 5 of 8 Page ID
                                 #:79890
Case 2:04-cv-09049-DOC-RNB Document 3833-2 Filed 05/28/08 Page 6 of 8 Page ID
                                 #:79891
Case 2:04-cv-09049-DOC-RNB Document 3833-2 Filed 05/28/08 Page 7 of 8 Page ID
                                 #:79892
Case 2:04-cv-09049-DOC-RNB Document 3833-2 Filed 05/28/08 Page 8 of 8 Page ID
                                 #:79893
